              Case 3:20-cr-05241-BHS Document 22 Filed 01/12/21 Page 1 of 2




 1                                                                   The Honorable Benjamin H. Settle
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 5
 6                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT TACOMA
 8
        UNITED STATES OF AMERICA,                             NO. CR20-5241 BHS
 9
                              Plaintiff,
10
                         v.                                   ORDER GRANTING MOTION
11                                                            FOR LEAVE TO SUPPLEMENT
        ADAM KELLY,
12                                                            SENTENCING MEMORANDUM
13                                    Defendant.

14
15
16         The United States has submitted a motion for leave to supplement its sentencing
17 memorandum. Having reviewed that motion and the defendant’s opposition to it, and
18 based on the facts in the motion, the United States’ motion for leave to supplement its
19 sentencing memorandum is hereby GRANTED.
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     Order Granting Motion to Supplement Sentencing Memorandum - 1
     United States v. Kelly, CR20-5241 BHS
              Case 3:20-cr-05241-BHS Document 22 Filed 01/12/21 Page 2 of 2




 1 The government may file with this Court the victim impact statements submitted to the
 2 Court in Washington v. Kelly, No. 19-1-00054-16, in the Jefferson County Superior Court
 3 of the State of Washington. See 18 U.S.C. § 3661; Pepper v. United States, 562 U.S.
 4 476, 480 (2011).
 5
 6         DATED this WKday of January 2021.
 7
 8
 9                                                          BENJAMIN
                                                             ENJAM MIN H. SETTLE
                                                                            SETT
                                                            United States District Court Judge
10
11 Presented by:
12
   s/ William Dreher
13 WILLIAM DREHER
   Assistant United States Attorney
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     Order Granting Motion to Supplement Sentencing Memorandum - 2
     United States v. Kelly, CR20-5241 BHS
